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             UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF
                                  FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 __________________________________
 (Plaintiff Name(s))

                                  SHORT-FORM COMPLAINT

               The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) ____George Barrett________________ (“Plaintiff(s)”) brings this
                action (check the applicable designation):

                        ☒On behalf of [himself/herself];

                        ☐In representative capacity as the __________________, on
                        behalf of the injured party, ________(Injured Party’s Name)



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        2.      Injured Party is currently a resident and citizen of __Hampton,
                Virginia________________(City, State) and claims damages as set forth below.

                                                       —OR—

                Decedent died on (Month, Day, Year) _______________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers: SANOFI S.A., SANOFI-AVENTIS U.S. LLC


                   b. Generic Manufacturers:


                   c. Distributors:


                   d. Retailers:


                   e. Repackagers:


                   f. Others Not Named in the MPIC:




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    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:


                              United States District Court – Eastern District of Virginia


       8.    Jurisdiction is proper upon diversity of citizenship.



                                   II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                     ☐By prescription

                     ☒Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) __January 2018____________ to ___December 2018____________.


                                III.     PHYSICAL INJURY


       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):
              Check Cancer Type                                       Approximate Date of
              all that                                                Diagnosis
              apply
              ☐        BLADDER CANCER
              ☐        BRAIN CANCER
              ☐        BREAST CANCER
              ☐        COLORECTAL CANCER
              ☐        ESOPHAGEAL/THROAT/NASAL
                       CANCER
              ☐        INTESTINAL CANCER
              ☒        KIDNEY CANCER                                  March 2019
              ☐        LIVER CANCER
              ☐        LUNG CANCER
              ☐        OVARIAN CANCER

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                ☐        PANCREATIC CANCER
                ☐        PROSTATE CANCER
                ☐        STOMACH CANCER
                ☐        TESTICULAR CANCER
                ☐        THYROID CANCER
                ☐        UTERINE CANCER
                ☐        OTHER CANCER: ________________
                ☐        DEATH (CAUSED BY CANCER)

       12.     Defendants, by their actions or inactions, proximately caused the injuries to
               Plaintiff(s).


                          IV.    CAUSES OF ACTION ASSERTED

       13.     The following Causes of Action asserted in the Master Personal Injury Complaint
               are asserted against the specified defendants in each class of Defendants
               enumerated therein, and the allegations with regard thereto are adopted in this Short
               Form Complaint by reference.


  Check if     COUNT        Cause of Action
  Applicable
  ☒            I            STRICT PRODUCTS LIABILITY – FAILURE TO WARN
  ☒            II           STRICT PRODUCTS LIABILITY – DESIGN DEFECT
  ☒            III          STRICT PRODUCTS LIABILITY – MANUFACTURING
                            DEFECT
  ☒            IV           NEGLIGENCE – FAILURE TO WARN
  ☒            V            NEGLIGENT PRODUCT DESIGN
  ☒            VI           NEGLIGENT MANUFACTURING
  ☒            VII          GENERAL NEGLIGENCE
  ☒            VIII         NEGLIGENT MISREPRESENTATION
  ☒            IX           BREACH OF EXPRESS WARRANTIES
  ☒            X            BREACH OF IMPLIED WARRANTIES
  ☐            XI           VIOLATION OF CONSUMER PROTECTION AND
                            DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                            statute below:
                            _______________________
  ☒            XII          UNJUST ENRICHMENT
  ☐            XIII         LOSS OF CONSORTIUM
  ☐            XIV          SURVIVAL ACTION
  ☐            XV           WRONGFUL DEATH
  ☒            XVI          OTHER: FRAUDULENT CONCEALMET

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  ☐             XVII          OTHER:


                If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):


  Plaintiff affirmatively pleads fraudulent concealment here as plead in paragraphs 467-472 in the

 Master Complaint.




                                            V.     JURY DEMAND


        14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action



                                      VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.


 s/ Adam Pulaski
 Adam Pulaski
 adam@pulaskilawfirm.com
 Bret Stanley
 bstanley@pulaskilawfirm.com
 Marlo Fischer
 marlo@pulaskilawfirm.com
 2925 Richmond Avenue, Suite 1725
 Houston, TX 77098
 Telephone: 713-664-4555
  Facsimile: 713-664-7543
 ATTORNEYS FOR PLAINTIFF




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